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                           EXHIBIT 24
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 From:            Lowell, Abbe
 To:              "James A. Bryant, Esq."
 Cc:              "William C. McCorriston"
 Subject:         RE: Politico Article
 Date:            Monday, May 24, 2021 3:26:00 PM


 James,

 I do not understand why you would take any media reporting at face value, nor do I understand the
 tone of your email. Let me try again:

 I did not know of the inquiry that is being referred as the bribery for pardon matter in June 2020; I
 was never contacted about it then in any form; and I did not hire any attorney for it.

 Please have Bill McCorriston show you or re-review the emails of August 25 -27, 2020. These dates
 were well after he, Nickie and I, after two months of hard work, had come up with the best offer the
 DOJ would make short of Nickie being indicted in two jurisdictions on multiple felony counts far
 beyond FARA. In those emails and notes, there is reference to the only thing I knew then regarding
 what the article is referring to as the bribery for pardon matter, which I disclosed and discussed with
 Bill and Nickie the same day, August 26, when I learned it. Specifically, that in some inquiry about
          efforts in early 2017 to seek a reduced sentence or clemency based on his age and health, a
 taint team told me emails I had written were being reviewed for privilege. I had been hired in 2017
 to write a legal memo about the case, which I did. I was not told that I was somehow under
 investigation, nor did I understand that I was. I did not hire an attorney then either. Specific
 reference to the only thing I knew – the taint team - as well as the other issues that had come up in
 connection with the plea addendum are all referred to in the August email exchanges.   The emails
 also reflect Bill, as third party counsel, had the role of discussing with the DOJ what would be in a
 public filing describing the issues we discussed and to go over the issues with Nickie.

 When press inquiries started in December 2020, initially indicating that I had been hired to help with
 a clemency application in January 2017 to use my influence with Jared Kushner (who I would not
 meet for another 6 months), I asked Reid Weingarten to deal with the media. In doing so, he spoke
 to the DOJ one time to confirm what he was quoted as saying - “that they had absolutely no
 concerns with Mr. Lowell’s conduct.” That was the extent of his role in the matter on my behalf.
  Nickie and I had discussions about the articles when they appeared then and also in the context of
 her efforts to seek a pardon at that time.

 I do not know who is behind the misinformation campaign now or the person’s or peoples’ motives
 for doing so. I now see you have given a quote to a reporter before you received the information
 you requested of me. The quote you gave, if the reporter is correct, continues to wrongly assume I
 had different knowledge than I communicated to Bill and Nickie at the time. I do know what has
 been reported is incorrect and it appears you have just added to the misinformation.

 Abbe
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